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 6    CORRECTIONAL MEDICAL GROUP

 7                        UNITED STATES DISTRICT COURT
 8                      SOUTHERN DISTRICT OF CALIFORNIA
 9 FRANKIE GREER,                                  CASE NO. 19-cv-0378-JO-DEB
10
            Plaintiff,                             JOINT MOTION TO EXCLUDE
11
                                                   MAURICIO MARTINEZ FROM
12 v.                                              THE MANDATORY
13                                                 SETTLEMENT CONFERENCE
   COUNTY OF SAN DIEGO, et al.
14
15                 Defendants.
16
17          At the request of Defendants MAURICIO MARTINEZ and COAST
18    CORRECTIONAL MEDICAL GROUP (“CCMG”) parties jointly move to
19
      exclude Dr. Martinez from the May 17, 2022 Mandatory Settlement Conference.
20
      These defendants will be represented by counsel who will be present at the
21
      Mandatory Settlement Conference. They have coverage through the Cooperative
22
      of American Physicians. The Claims Specialist will also be present at the
23
      Mandatory Settlement Conference. CCMG is only being sued in its capacity as
24
      vicariously liable for Dr. Martinez. Consent from the defendants has been received
25
26    to enter a settlement, so their participation is no longer necessary.

27          Therefore, it is respectfully requested that an order excusing Dr. Martinez’s

28    personal appearance be granted.

         JOINT MOTION TO EXCLUDE MAURICIO MARTINEZ FROM THE                   19-cv-0378-GPC-DEB
         MANDATORY SETTLEMENT CONFERENCE                                                       1
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 1                                        Respectfully submitted,
 2    DATED May 11, 2022                  IREDALE AND YOO

 3                                        s/ Grace Jun
                                          EUGENE IREDALE
 4                                        JULIA YOO
 5                                        GRACE JUN
                                          Attorneys for Plaintiff Frankie Greer
 6
 7    DATED May 11, 2022                  MCDOUGAL LOVE BOEHMER FOLEY
                                          LYON & CANLAS
 8
                                          s/ Carrie L. Mitchell
 9                                        CARRIE L. MITCHELL
10                                        Attorneys for Defendants County of San
                                          Diego et. al.
11
      DATED May 11, 2022                  LOTZ, DOGGETT & RAWERS, LLP
12
13                                        s/ Brian Bloodworth
14                                        Jeffrey Doggett
                                          Brian Bloodworth
15                                        Attorneys for Defendants Mauricio Martinez
16                                        and Coast Correctional Medical Group

17
                                      CERTIFICATION
18
19          I, Brian T. Bloodworth, certify that the contents of this joint motion are

20    acceptable to all persons required to sign the document. I have obtained each
21    counsel’s authorization to affix counsel’s electronic signature to this document.
22    Dated: May 11, 2022             /s Brian T. Bloodworth
                                      Attorney for Defendants Mauricio Martinez and
23                                    Coast Correctional Medical Group
24
25
26
27
28

        JOINT MOTION TO EXCLUDE MAURICIO MARTINEZ FROM THE               19-cv-0378-GPC-DEB
        MANDATORY SETTLEMENT CONFERENCE                                                   2
